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8                                  UNITED STATES DISTRICT COURT
9                                  EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                 )      Case No: 5:20-MJ-00009 JLT
                                                )
12                    Plaintiff,                )      ORDER APPOINTING COUNSEL
                                                )
13            vs.                               )
                                                )
14    ARMANDO CABRERA-SANCHEZ,                  )
                                                )
15                    Defendant.                )
                                                )
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             The defendant has attested to his financial inability to employ counsel and wishes the
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     Court to appoint counsel to represent him. Therefore, in the interests of justice and according to
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     Sixth Amendment to the United States Constitution and 18 U.S.C. § 3006A, the Court
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     ORDERS:
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             1.      Harry Drandell is APPOINTED to represent the above defendant in this case
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     effective nunc pro tunc to March 18, 2020. This appointment shall remain in effect until further
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     order of this court.
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     IT IS SO ORDERED.
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26       Dated:     March 23, 2020                             /s/ Jennifer L. Thurston
                                                       UNITED STATES MAGISTRATE JUDGE
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